Case 2:03-cr-20039-.]DB-de Document 64 Filed 06/21/05 Page 1 of 2 Page|D 59

UNLTED STATES DISTRICT COURT Ji.é§'i §§ PH 5= 17

FOR THE WESTERN DISTRICT OF TENNESSEE _ _ __
WESTERN DIVISION ` ig H`;_i.'-J(J]~»

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UNITES STATES OF AMERICA,

Plaintiff,
v. Cr. No. 03-20039-}3
TAMARCUS PITTMAN,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO
CONTINUE RE-SENTENCING HEARING

 

For good cause Shown, and without objection by the govemment, the resentencing hearing

in this matter is hereby RESET for at least ten (10) days from Thursday, June 23, 2005 at 9:00 a.m.,

eruntil ][M§ddgj ,jf`&hf il lRQE §@_ q.`OQ a.m-

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11 is so oRDERED,thiSthe 3d day OfJune, 2005.

BM

RABLE J. DANIEL BREEN
NINT D STATES DISTRICT COURT JUDGE

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Honorable J. Breen
US DISTRICT COURT

